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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA               :           ORDER

          - against -                  :           09 Cr. 909-1 (DC)

RIGOBERTO RENTERIA-ANDRADE,            :

                      Defendant.       :

- - - - - - - - - - - - - - - - - -x

CHIN, Circuit Judge:

          The conference that had been scheduled for January 19,

2021, is hereby adjourned until Friday, March 5, 2021.          Chambers

will issue a subsequent order providing the time and access

information for the teleconference.

          As requested, defense counsel will be given an

opportunity to speak with the defendant, Rigoberto Renteria-

Andrade, by telephone fifteen minutes before the conference

begins -- at that time, the Westchester County Jail will call

defense counsel at the telephone number listed on the docket.

          Once an interpreter has been assigned for the

teleconference, Chambers will provide counsel with a telephone

number at which the interpreter can be reached at the time of

the pre-conference; it is counsel's responsibility to conference

the interpreter in with the defendant for the pre-conference.
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            Shortly before the teleconference, counsel shall call

into the meeting using the information to be provided by

chambers in a future order.       Members of the press and public who

wish to listen in on the conference may call the same number;

but they will not be permitted to speak during the conference.

            On consent of the parties, in light of current

circumstances, and in the interest of justice, the time until

March 5, 2021, is excluded for speedy trial purposes.

            SO ORDERED.

Dated:      New York, New York
            January 12, 2021



                                           ___s/Denny Chin______________
                                           DENNY CHIN
                                           United States Circuit Judge
                                           Sitting by Designation




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